






NUMBER 13-01-240-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________

ARTURO PERALES , Appellant,


v.


THE STATE OF TEXAS, Appellee.

__________________________________________________________________


On appeal from the 272nd District Court 

of Brazos County, Texas.

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O P I N I O N

Before Chief Justice Valdez and Justices Hinojosa and Castillo

Opinion Per Curiam


Appellant, ARTURO PERALES , perfected an appeal from a judgment entered by the 272nd District Court of Brazos
County, Texas,  in cause number 27509272 .  Appellant has filed a motion to dismiss the appeal.  The motion complies
with Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 5th day of July, 2001 .


